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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case Number 07-20531-BC
v.                                                            Honorable Thomas L. Ludington

DEMETRESS LASHAWN BRYANT (D-2),

                  Defendant.
______________________________________ /

       ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS EVIDENCE,
                    PERMITTING HIM TO RENEW IT,
                AND DETERMINING EXCLUDABLE DELAY

       On March 14, 2008, the Court held a hearing on Defendant Demetress Bryant’s motion to

suppress evidence, acquired through a search allegedly in violation of the Fourth Amendment.

Present at the hearing were counsel for the government, counsel for Defendant, and Defendant.

       Although captioned as a motion to suppress evidence, Defendant requested that the Court

grant him an evidentiary hearing, under Franks v. Delaware, 438 U.S. 154 (1978), to establish that,

absent the challenged statements or omissions in the warrant affidavit, the magistrate could not have

found probable cause to issue the warrant. For the reasons stated on the record, the Court denied

Defendant’s motion.

       At the conclusion of the hearing, defense counsel cited his recent receipt of additional

discovery materials and requested the opportunity to renew his motion, in the event that he identified

any further support for Defendant’s requests. The court stated that he could renew his motion, if

warranted, on or before March 21, 2008.

       At the conclusion of the hearing, Defendant requested an additional week to review

discovery materials and, possibly, to renew his motion. Because the several defendants and the
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many charges render the case complex and because of the substantial volume of discovery recently

provided to defense counsel, the period between March 14, 2008 and March 21, 2008 shall be

deemed excludable for the purpose of computing time limits under 18 U.S.C. § 3161(h)(8)(B)(ii),

because the Court determines that additional time is necessary for Defendant to adequately review

additional discovery of approximately 500 pages. The ends of justice, therefore, are served by this

delay and outweigh the best interests of the public and Defendants in a speedy trial.

       Accordingly, it is ORDERED that Defendant’s motion to suppress [dkt #63] is DENIED

without prejudice to him renewing the motion, on or before March 21, 2008.

       It is further ORDERED that the time period between March 14, 2008 and March 21, 2008

shall be excluded for the purposes of computation of the time limits under 18 U.S.C. §

3161(h)(8)(B).



                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge

Dated: March 14, 2008

                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on March 14, 2008.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




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